                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION

  Michael Langenhorst, Michael D. LeMay,
  Stephen Fifrick,                                          Case No.: 1:20-cv-1701
                        Plaintiffs,
        v.
                                                       Plaintiffs’ Notice of Voluntary
  Laure Pecore, in her official capacity as
                                                                   Dismissal
  Clerk of Menominee County, Wisconsin;
  Scott McDonell, in his official capacity as
  Clerk of Dane County, Wisconsin; George
  L. Christenson, in his official capacity as
  Clerk of Milwaukee County, Wisconsin;
  Julietta Henry, in her official capacity as
  Milwaukee County, Wisconsin Elections
  Director; Rick Baas, Dawn Martin, and
  Tim Posnanski, in their official capacities as
  Milwaukee County, Wisconsin Election
  Commissioners; Ann S. Jacobs, in her
  official capacity as Chair of the Wisconsin
  Elections Commission, Mark L. Thomsen,
  in his official capacity as Vice-Chair of the
  Wisconsin Elections Commission, Marge
  Bostelmann, in her official capacity as
  Secretary of the Wisconsin Elections
  Commission; Julie M. Glancey, Dean
  Knudson, and Robert F. Spindell, Jr. in
  their official capacities as Wisconsin
  Election Commissioners; and Tony Evers, in
  his official capacity as Governor of the State
  of Wisconsin,
                          Defendants.

   Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Michael Langenhorst, Michael D. LeMay,

and Stephen Fifrick give notice that the above-captioned action is voluntarily dismissed without

prejudice against all Defendants.




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Date: November 16, 2020

                          Respectfully Submitted,

                          Local Counsel for Plaintiffs

                          /s/ Michael D. Dean
                          __________________________________
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